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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE - WESTERN DIVISION

ARTURO AGUIRRE CRUZ, Individually

and as Next of Kin to MAXIMINO AGUIRRE,
Deceased; MARIA LUZ VENEGAS
ESTRADA, Individually, as Next of Kin

to MAXIMINO AGUIRRE, Deceased and on
behalf of MARITZA AGUIRRE VENEGAS,

a minor; and AURELIANO VALDES BLAS,
Individually,

 

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PLAINTIFFS,

CASE NO. 04-2389 Ma P

V.

JURY TRIAL DEMANDED
FORD MOTOR COMPANY,

VVVVVVVVVVVVVVVVVV

DEFE NDANT.

 

STIPULATED PROTECTIVE ORDER
Upon agreement of counsel for Plaintiffs and F ord l\/lotor Company (_“Ford") to a protective
order regarding the production and use of confidential, commercial and proprietary documents in
this action, the Court ORDERS AS FOLLOWS:
l. Documents to be produced by Ford during discovery in this litigation Which contain
confidential information shall hereafter be referred to as "Protected Documents." Any document and
any information designated as "Subject to Protective Order“ in accordance with the provisions ot`

this Order (“Conf'ldential Material”) shall only be used, shown or disclosed as provided in this

Order.

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with Ru£e 58 and/or ?9(3) FRCP on _LL___ 5

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2. As used in this Order, the tenn "documents" means all Written material, videotapes
and all other tangible items, whether produced as hard copy, computer diskette, CD-ROM or
otherwise, as well as any information contained in or derived from such document

3. The designation of Protected Documents may be made by marking or placing the
notice "Subject to Protective Order" or substantially similar notice, on the document, or, where a
copy ofthe original document is to be produced, on that copy, The notice shall be placed in such a
manner as will not interfere with the legibility of the contents of the document

4. Protected Documents and any copies thereof shall be maintained confidential by the
receiving party, his attomey, other representatives, and expert witnesses, and shall be used only for
preparation for the trial of this matter, subject to the provisions and limitations of Paragraph 5 below.

5. Protected Documents shall be disclosed only to "Qualit`ied Persons." Qualit`ied
Persons are limited to:

a. Counsel ofRecord for the parties;
b. Non-technical and clerical staff employed by Counsel of Record and
involved in the preparation and trial of this action;
e. Independent personnel retained by Counsel of Record and involved in the
preparation and trial of this action;
d. Personnel employed by a party, where genuinely needed for preparation for
the trial of this action; and
e. Parties, attorneys, and consultants in unrelated, pending lawsuits where F ord
Motor Company is a named defendant and where allegations are made that an Explorer vehicle is
unreasonably dangerous and defective in design with regard to its handling and stability

characteristics; roof strength, or occupant restraint issues.
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6. ln no event shall disclosure of Protected Docuinents be made to any expert
or consultant who is employed by a competitor of Ford and such persons shall not be Qnalified
Persons.

7. Before any Qualified Person may obtain Confidential i\/laterial, such person shall
execute a "Written Assurance“ in the form contained in EXhibit A, attached hereto. Counsel for the
plaintiffs or co-defendants, as applicable, will retain the Written Assurance and will keep a list of all
persons who have received Confidential Material for inspection by the Court and, upon order ofthe
Court, counsel for Ford.

8. Nothing contained in this Order shall prevent the use of Protected Documcnts at trial
or at depositions, With appropriate safeguards. lf Protected Documents are used or referred to
during depositions, counsel for F ord may request that only Qualified Persons, the deponent, and the
reporter be present F ord shall, either at the deposition or Within ten (10) days of receipt of the
transcript thereof, notify counsel for Plaintiffs and the deponent as to What information is considered
confidential Counsel for Ford will designate those portions ofthe transcript for which the claim of
confidentiality is made. Those portions of the testimony, including exhibits, shall be bound
separately under seal and prominently marked "Protected Documents Subject to Protective Order
Entered by ............ " The deponent shall be instructed in advance that he may not disclose
Protected Documents or the information contained therein, except as provided by this Order, and the
deponent shall sign a Written Assurance to that effect.

9. Any Protected Documents filed with the Court shall be filed under seal and
prominently marked; “Protected Documents Subject to Protective Order Entered by ................... "

10. In the event any party hereto disagrees as to any claim of confidentiality, counsel for

that party shall notify counsel for F ord in writing If the dispute cannot be resolved by agreement,
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such Protected Documents shall be kept confidential until F ord has an opportunity with reasonable
notice to the objecting party, to file promptly an appropriate motion with the Court regarding the
claim of confidentiality Confidential l\/laterial shall remain subject to the terms of this Order
pending resolution of any such motion_

ll. Upon final determination of this action, all Protected Documents, including any
copies thereof, and any other document or copy thereof that incorporates any Confidential l\/laterial,
shall be maintained in accordance With the terms of this Order.

12. To the extent Ford is requested to produce documents it feels should not be subject to
the provisions of Paragraph S(e) above, F ord does not waive its right to subsequently request that the
parties enter into a non-sharing protective order prior to the production of any such documents

SO ORDERED.

DATED; /uae, \Ll , 2005.

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AGREED AND APPROVED:

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Rl. hristopher Cowan

N Central Expressway, Ste. 370
Dlall s, TX 75204
ATT`oRNEYs FoR PLAINTIFF

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Stephen A. Ma
Stansbe ,Petro ,Marcum and Blakley
P.O. Bo

Three Courthouse Square
Huntsville, Tennessee 37756
ATTORNEYS FOR FOR]) MOTOR COMPANY

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EXHIBIT A

AFFIDAVIT OF _, being duly
sworn and personally appearing before the undersigned attesting officer, duly authorized by law to
administer oaths, deposes and says that the within statements are true and correct:

l_
l have read the Protective Order attached hereto and I understand its terms and meanings
2.

l agree that my signature below submits me to the jurisdiction of the In The United States
District Court Western District OfTennessee - Western Division Arturo Aguirre Cruz, lndividually
And As Next OfKin To Maximino Aguirre, Deceased; l\/laria Luz Venegas Estrada, lndividually, As
Next Of Kin To Maximino Aguirre, Deceased And On Behalf Of Maritza Aguirre Venegas, A
Minor; And Aureliano Valdes Blas, lndividually v. Ford Motor Company, Case No. 04»2389 Ma P
pending, and binds me to the provisions of the Protective Order, including to all promises
undertaken in the Order by Plaintiffs, as if originally agreed by me.

FURTHER AFFIANT SAYETH NOT.

 

Sworn and subscribed to before me this day of , 2005.

 

NOTARY PUBLIC

My Commission Expires:

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02389 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Stephen A. Marcum

STANSBERRY PETROFF MARCUM & BLAKLEY
3 Courthouse Square

Huntsville7 TN 37756

R. Christopher Covvan

THE COWAN LAW FIRM
4144 N. Central EXpressWay
Ste. 370

Dallas, TX 75204

Honorable .l on McCalla
US DISTRICT COURT

